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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                         )              In Proceedings
                                               )              Under Chapter 13
GARY M. LAGER and                              )
CONSTANCE S. LAGER,                            )
                                               )
                 Debtors.                      )
                                               )              BK      18-31706
GARY M. LAGER and                              )
CONSTANCE S. LAGER,                            )
                                               )
                Plaintiffs,                    )
                                               )              ADV 19-
   vs.                                         )
                                               )
DITECH FINANCIAL, LLC,                         )
                                               )
                 Defendant.                    )

                        COMPLAINT TO AVOID UNPERFECTED LIEN

         COME NOW the Plaintiffs, Gary and Constance Lager, by and through their attorneys,

Law Office of Ronald A. Buch, L.L.C., and for their Complaint to Avoid Unperfected Lien state as

follows:

         1. On November 27, 2018, the Plaintiffs filed for relief under Chapter 13 of the

Bankruptcy Code.

         2. That this Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(1).

         3.   That this is a “core” proceeding under 28 U.S.C. § 157(b)(2)(A), (b)(2)(K) and

(b)(2)(O).

         4. That venue is proper in this Court pursuant to 28 U.S.C. § 1409.

         5. Ditech Financial, LLC (“Ditech”) did not file a Proof of Claim.

         6. Plaintiffs’ counsel made numerous attempts to obtain the documentation necessary to

file a Proof of Claim directly from Ditech, but was unable to do so. Ditech was extremely
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uncooperative and eventually referred counsel to an attorney, who when contacted, indicated that

they had never received a referral to represent Ditech in the Plaintiffs’ bankruptcy.

          7. Plaintiffs’ counsel then contacted the Clinton County, Illinois Recorder of Deeds office.

An exhaustive search of their records revealed that there was not a mortgage on file that had not

been subsequently released.

          8. Plaintiffs’ request that this Court avoid the unperfected lien of Ditech.

          WHEREFORE, the Plaintiffs, Gary and Constance Lager, pray this Honorable Court for an

Order avoiding the unperfected lien of Ditech, and for such other relief as the Court deems just and

proper.

                                                         GARY M. & CONSTANCE S. LAGER,

                                                         By: /s/ Ronald A. Buch
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